JS 44 (Rev. 10/20)   Case 3:22-cv-00379-L-DEBCIVIL
                                              Document 1-1 Filed
                                                   COVER   SHEET 03/21/22 PageID.8 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         DIANA VARGAS                                                                                    COSTCO WHOLESALE CORPORATION
   (b)   County of Residence of First Listed Plaintiff           San Diego                               County of Residence of First Listed Defendant              King County, WA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c)
                                                                                                                                      '22CV0379 L       DEB
         Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
      Bradley/Grombacher, LLP                                                                         Rogers Joseph O'Donnell
      31365 Oak Crest Drive, Ste. 240                                                                 311 California Street, 10th Fl.
      Westlake Village, CA 91361                                                                      San Francisco, CA 94104
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                 365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability               367 Health Care/                                                                                       400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                   820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                 830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                 835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                        New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                         840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                         LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle          ✖ 370 Other Fraud                 710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending                Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability        380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                              or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                          871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                   IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                          462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                    Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                 3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding                 State Court                        Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1332(d)(2)-Class Action Fairness Act
VI. CAUSE OF ACTION                    Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
March 21, 2022                                                       /s/ Merri A. Baldwin
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
